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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                          :
JOSEPH MANTHA on behalf of                :
themselves and others similarly situated, :
                                          :   Case No. 1:19-cv-12235-LTS-PK
       Plaintiff,                         :
                                          :
v.                                        :
                                          :
QUOTEWIZARD.COM, LLC                      :
                                          :
       Defendant.                         :
                                          :
                       PLAINTIFF’S’ ASSENTED TO MOTION TO FILE
                                   DOCUMENTS UNDER SEAL

       Plaintiff Joe Mantha moves for permission to file his Opposition to Defendant’s

Objection to Chief Magistrate Judge Kelley’s Order Compelling The Production of Do Not Call

Complaints (ECF #132). The Opposition refers to and discusses exhibits that have been

designated as Confidential by the Defendant, pursuant to this Court’s presumptive Protective

Order. Plaintiffs will file a redacted version through ECF.

       The Defendant, through counsel, has no objection.

       WHEREFORE, Plaintiffs respectfully request the Court enter an order directing that the

exhibits designated by the Defendant as confidential be filed under seal.

                                                     PLAINTIFF,


                                                     By his attorneys

                                                     /s/ Matthew P. McCue
                                                     Matthew P. McCue
                                                     THE LAW OFFICE OF MATTHEW P.
                                                     MCCUE
                                                     1 South Avenue, Suite 3
                                                     Natick, MA 01760
                                                     Telephone: (508) 655-1415
                                                     mmccue@massattorneys.net
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                                                     Edward A. Broderick
                                                     BRODERICK LAW, P.C.
                                                     176 Federal Street, Fifth Floor
                                                     Boston, MA 02110
                                                     Telephone: (617) 738-7080
                                                     ted@broderick-law.com

                                                     Anthony I. Paronich
                                                     PARONICH LAW, P.C.
                                                     350 Lincoln Street, Suite 2400
                                                     Hingham, MA 02043
                                                     (508) 221-1510
                                                     anthony@paronichlaw.com

                                                     Alex M. Washkowitz
                                                     Jeremy Cohen
                                                     CW LAW GROUP, P.C.
                                                     188 Oaks Road Framingham, MA 01701
                                                     alex@cwlawgrouppc.com


                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 4, 2021, I electronically transmitted the foregoing to
all counsel of record via the electronic filing system.

                                                     By: /s/ Matthew P. McCue
                                                            Matthew P. McCue




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